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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 09-20795-CR-HUCK(s)
UNITED STATES OF AMERICA,
Plaintiff,
vs.
RICHARD PADILLA CRAMER,

Defendant.
/

PLEA AGREEMENT
The United States of America and RICHARD PADILLA CRAMER(hereinafter referred to
as the “defendant”) enter into the following agreement:
l . The defendant agrees to plead guilty to a one count information, which charges the defendant
with conspiracy to obstruct justice, in violation of Title 18, United States Code, Section 1512(0)(2),

all in violation of Title 18, United States Code, Section 1512(k).

2. The United States agrees to seek dismissal of the pending indictment in this case after

l
sentencing l
3. The defendant is aware that the sentence will be imposed by the court after considering the

Federal Sentencing Guidelines and Policy Statements (hereinafter “Sentencing Guidelines”). The
defendant acknowledges and understands that the court will compute an advisory sentence under the
Sentencing Guidelines and that the applicable guidelines will be determined by the court relying ih
part on the results of a Pre-Sentence Investigation by the court’s probation office, which
investigation will commence after the guilty plea has been entered. The defendant is also aware that,

under certain circumstances, the court may depart from the advisory sentencing guideline range that

 

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it has computed, and may raise or lower that advisory sentence under the Sentencing Guidelines.`
The defendant is further aware and understands that the court is required to consider the advisory
guideline range determined under the Sentencing Guidelines, but is not bound to impose that
sentence; the court is permitted to tailor the ultimate sentence in light of other statutory concerns,;
and such sentence may be either more severe or less severe than the Sentencing Guidelines’ advisory
sentence. Knowing these facts, the defendant understands and acknowledges that the court has the
authority to impose any sentence within and up to the statutory maximum authorized by law for the
offense identified in paragraph l and that the defendant may not withdraw the plea solely as a result
of the sentence imposed.

4. The defendant also understands and acknowledges that the court may impose a statutory
maximum term of up to 20 years imprisonment, followed by a term of supervised release of up tb

three years. In addition to a term of imprisonment and supervised release, the court may impose a

fine of up to $250,000.

5. The defendant further understand and acknowledges that, in addition to any sentence imposed
under paragraph 4 of this agreement, a special assessment in the amount of $ 1 00.00 will be imposed
on the defendant The defendant agrees that any special assessment imposed shall be paid at the timle
of sentencing

6. The Office of the United States Attomey for the Southern District of Florida (hereinaftér
“Office”) reserves the right to inform the court and the probation office of all facts pertinent to the
sentencing process, including all relevant information concerning the offenses committed, whether

charged or not, as well as concerning the defendant and the defendant’s background Subject only

to the express terms of any agreed-upon sentencing recommendations contained in this agreement,

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this Office further reserves the right to make any recommendation as to the quality and quantity of
punishment l
7. The United States agrees that it will recommend at sentencing that the Court reduce by two
levels the sentencing guideline level applicable to the defendant's offense, pursuant to Section
3El . l (a) of the Sentencing Guidelines, based upon the defendant’s recognition and affirmative and
timely acceptance of personal responsibility, and a decrease of one additional level pursuant to‘
U.S.S.G. Section 3El . l (b), if prior to any reduction under Section 3El . l (a) the defendant’s offense§
level is 16 or higher. However, the United States will not be required to make this sentencing§
recommendation if the defendant: (l) fails or refuses to make a full, accurate and complete disclosure
to the probation office and this Office of the circumstances surrounding the relevant offense conduct;;

(2) is found to have misrepresented facts to the government prior to entering this plea agreement;:

or (3) commits any misconduct after entering into this plea agreement, including but not limited to
committing a state or federal offense, violating any term of release, or making a false statement or
misrepresentation to any governmental entity or official.

8. The defendant is aware that the sentence has not yet been determined by the Court. The

defendant also is aware that any estimate of the probable sentencing range or sentence that the

 

defendant may receive, whether that estimate comes from the defendant’s attorney, the government,
or the probation office, is a prediction, not a promise, and is not binding on the government, the:
probation office or the Court. The defendant understands further that any recommendation that the.`
government makes to the Court as to sentencing, whether pursuant to this agreement or otherwise,l
is not binding on the Court and the Court may disregard the recommendation in its entirety. The;

defendant understands and acknowledges that the defendant may not withdraw his plea based upon

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the Court’s decision not to accept a sentencing recommendation made by the defendant, the§
govemment, or a recommendation jointly made by both the defendant and the govemment.

9. The United States and the defendant agree that, although not binding on the probation office

or the Court, they will jointly recommend that the Court make the following findings andl
conclusions as to the sentence to be imposed:

a. Base offense level: That the base offense level be l4, pursuant to U.S.S.G. Section§
2J l .2(a). The United States further agrees not to seek to have the offense level increased based on
any underlying offense under Section 2J l .2(c)(l).

b. Abuse of position of trusts That the offense level be increased by two levels for the abuse
of a position of trust in the commission of the offense, pursuant to U.S.S.G. Section 3Bl .3. `

c. Obstruction of Justice: That pursuant to U.S.S.G. Section 3Cl . l, the defendant’s offensel
level should be increased two levels for obstruction of justice in connection with his post-arrest:
interview with the Office of the Inspector General (OIG), during which he provided misleading
information which impeded OIG’s investigation of the offense set forth in Paragraph One of thisl
Agreement. l

d. That the total adjusted offense level is 15 and that the sentence should be 24 months
imprisonment
10. The defendant is aware that Title 18, United States Code, Section 3742 affords the defendant
the right to appeal the sentence imposed in this case. Acknowledging this, in exchange for the
undertakings made by the United States in this plea agreement, the defendant hereby waives all rights l
conferred by Section 3742 to appeal any sentence imposed, including any restitution order, or to1

appeal the manner in which the sentence was imposed, unless the sentence exceeds the maximum

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permitted by statute or is the result of an upward departure or variance from the guideline range that

the Court establishes at sentencing The defendant further understands that nothing in this agreement §

shall affect the govemment’s right and/or duty to appeal as set forth in Title 18, United States Code,

Section 3742(b). However, if the United States appeals the defendant’s sentence pursuant to Section

3742(b), the defendant shall be released from the above waiver of appellate rights. By signing this §

agreement, the defendant acknowledges that he has discussed the appeal waiver set forth in this;

agreement with his attorney. The defendant further agrees, together with the United States, to:

request that the district Court enter a specific finding that the defendant’s waiver of his right toy

appeal the sentence to be imposed in this case was knowing and voluntary.

16 This is the entire agreement and understanding between the United States and the defendant.

There are no other agreements, promises, representations, or understandings.

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Date: / /0 aff

Date:

JEFFREY H. SLOMAN
ACTING UNITED STATES ATTORNEY

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CHARD PADILLA CRAMER
DEFENDANT

